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JS44 (Rey, 04/21) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

J, (a) PLAINTIFFS DEFENDANTS
Anthony Allegrini Sr., and Jennifer Allegrini, et. al. (see State Trooper Robert Sobeck Jr. et. al. (see addendum)
addendum)
(b) County of Residence of First Listed Plaintiff Delaware County of Residence of First Listed Defendant Philadelphia
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
Joseph Oxman, Oxman Goodstadt Kuritz, P.C., 1518
Walnut Street, Suite 1010, Phila. PA. 19102;

II. BASIS OF JURISDICTION (Place an “x” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[-]1 U.S. Government [x]3 Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State []1 [1 1. Incorporated or Principal Place []4. (4
of Business In This State
[]2 U.S. Government [14 Diversity Citizen of Another State (12 [J 2. Incorporated and Principal Place [] 5 [15
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a [13 [] 3. Foreign Nation Lis [Je
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
L “CONTRACT ¢ /FORFEITURE/PENALT' BANKRUPT OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158° [| 375 False Claims Act
120 Marine 310 Airplane CJ 365 Personal Injury - of Property 21 USC 881 423 Withdrawal |_| 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability O 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical : 410 Antitrust
& Enforcement of Judgment] Slander Personal Injury $00 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability O 368 Asbestos Personal A 835 Patent - Abbreviated 460 Deportation
Student Loans 4 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability |_| 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY [© i [| 880 Defend Trade Secrets |_] 480 Consumer Credit
__ of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud T710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|_| 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal | 720 Labor/Management i 5 Protection Act
| 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
{_| 196 Franchise Injury Cc 385 Property Damage is Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (403(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | | 890 Other Statutory Actions
ToREAL PROPERTY =~ IVIL RIGHTS <<<] PRISONER PETITIONS |_| 790 Other Labor Litigation [| 865 RSI (405(g)) |} 891 Agricultural Acts
|_| 210 Land Condemnation x | 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
[| 220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act ERAT“ FAX SUITS’ 895 Freedom of Information
[| 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate || 870 Taxes <(U. S. Plaintiff Act
|_| 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations [| 530 General y | 871 IRS—Third Party 899 Administrative Procedure
|] 290 All Other Real Property 445 Amer. w/Disabilities - [| 535 Death Penalty 2 IMMIGRATION ° ; 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -]_| 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
360 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (lace an “X” in One Box Only)
[x] [x] 1 Original Li? Removed from oO 3 Remanded from Ol 4 Reinstated or oO 5 Transferred from oO 6 Multidistrict Oo 8 Multidistrict
Proceeding State Court Appellate Court Reopened. Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Section 1983 of the Federal Civil Rights Act
Brief description of cause:
Excessive Force, Deliberate Indifference to Medical Need, False Detention and Arrest, Assault and Battery, Wrongful Death, IIED

VI. CAUSE OF ACTION

VU. REQUESTED IN = [|] CHECK IFTHISIS A CLASS ACTION DEMAND $ CHECK. YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 50,000,000.00 JURY DEMAND: [klyes [No
VIII. RELATED CASE(S)
‘See instructions):
IF ANY ( *  SupGE DOCKET NUMBER
DATE OF C RNEY be RECORD
March 15, 2024
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING Pe JUDGE MAG, JUDGE

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff 2 Concord Creek Road, Glen Mills, PA. 19342

Address of Defendant: Troop K 2201 Belmont Avenue, Philadelphia, PA. 19131

Place of Accident, Incident or Transaction: I-95 South at Chestnut Street, Philadelphia, PA.
RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ ] No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ No
case filed by the same individual? -

I certify that, to my knowledge, the within case [J is / [2] is not relajed to any case now pending or within one year previously terminated action in
this court except as noted above. j

pare, 03/15/2024 x seg 207956

Att hy-at-Law /Pro Se Plajiiff Attorney LD. # (if applicable)

CIVIL: (Place a ¥ in one category only)

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
[1 1. Indemnity Contract, Marine Contract, and All Other Contracts [| 1. Insurance Contract and Other Contracts
Lj 2. FELA [| 2. Airplane Personal Injury
C1 3. Jones Act-Personal Injury Tj] 3. Assault, Defamation
[CL] 4. Antitrust [] 4. Marine Personal Injury

5. Patent [] 5. Motor Vehicle Personal Injury
Uy 6. Labor-Management Relations [| 6. Other Personal Injury (Please specify):
7, Civil Rights [] 7. Products Liability
CI 8. Habeas Corpus [] 8. Products Liability — Asbestos
H 9, Securities Act(s) Cases [| 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases

(Please specify):

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

;, Joseph S. Oxman, Esquire

, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.

arn, 03/15/2024 WN cobb) 207956

Altgey-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compfiance with F.R.C.P. 38.

Civ, 609 (5/2018)

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Addendum
Plaintiffs

Anthony Allegrini Sr.

Jennifer Allegrini

As Executors of the Estate of Anthony Allegrini Jr.
2 Concord Creek Road, Glen Mills, PA. 19342

Giovanni Patete
1026 Lincoln Avenue, Apt. B
Prospect Park, PA. 19176

Vincent Tribuiani
1619 Evans Avenue
Prospect Park, PA. 19076

William Soper
9 Love Lane
Norwood, PA. 19074
Case 2:24-cv-01139-NIQA Document 1 Filed 03/15/24 Page 4 of 21

OXMAN GOODSTADT KURITZ P.C.
BY: JOSEPH OXMAN, ESQUIRE
1518 Walnut Street, Suite 1010
Philadelphia, PA. 19102

215-665-9999
oxmanj@ogklawyers,com

Attorney for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANTHONY SR. & JENNIFER
ALLEGRINI as the administrators of the
estate of ANTHONY ALLEGRINI JR.

2. Concord Creek Road

Glen Mills, PA. 19342

GIOVANNI PATETE
1026 Lincoln Avenue, Apt. B
Prospect Park, PA, 19176

VINCENT TRIBUIANI
1619 Evans Avenue
Prospect Park, PA. 19076

WILLIAM SOPER
9 Love Lane
Norwood, PA. 19074

Plaintiffs,
vs.

PENNSYLVANIA STATE TROOPER
ROBERT SOBECK, JR. & UNKNOWN
PENNSYLVANIA STATE TROOPERS
Troop K

2201 Belmont Avenue

Philadelphia, PA 19131

UNKNOWN PHILADELPHIA POLICE
OFFICERS
400 N. Broad St.
Philadelphia, PA 19103
Defendants.

CIVIL ACTION NO.

District Judge

COMPLAINT FOR VIOLATIONS OF THE 4™
AMENDMENT OF THE CONSTITUTION OF
THE UNITED STATES, SECTION 1983 OF
THE CIVIL RIGHTS ACT, EXCESSIVE
FORCE, ASSAULT, BATTERY, FALSE
ARREST, FALSE DETENTION, WRONGFUL
DEATH ACTION, SURVIVAL ACTION,
DELIBERATE INDIFFERENCE IN FAILING
TO PROVIDE MEDICAL ATTENTION,
INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS
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Plaintiffs, Anthony Allegrini Sr. and Jennifer Allegrini, as Administrators of the Estate of

Anthony Allegrini Jr, Giovanni Patete, Vincent Tribuiani and William Soper, by way of

Complaint against defendants say:

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PARTIES
Decedent Anthony Allegrini Jr., was at all times relevant to this complaint a resident of
Glen Mills, Pennsylvania. He was shot and killed by defendant State Trooper Robert Jr.
at the age of 18 on June 4, 2023. (hereinafter referred to as “Allegrini”)
Plaintiffs Anthony Sr. and Jennifer Allegrini are the parents of decedent Anthony
Allegrini Jr., and were appointed as the Administrators of the Estate of Anthony Allegrini
Jr. by the County of Delaware Register of Wills on September 21, 2023. The Allegrini’s
bring this action in their capacity as the Administrators of the Estate and for the benefit of
Anthony Allegrini Jr’s heirs. (hereinafter referred to as “Parents”’)
Plaintiff Giovanni Patete has at all times relevant to this complaint been a resident of

Prospect Park, Pennsylvania. (hereinafter referred to as “Patete’’)

. Plaintiff Vincent Tribuiani has at all times relevant to this complaint been a resident of

Prospect Park, Pennsylvania. (hereinafter referred to as “Tribuiani”’)
Plaintiff William Soper has at all times relevant to this complaint been a resident of

Norwood, Pennsylvania. (hereinafter referred to as ““Soper’)

. Defendants, Unknown Philadelphia Police Officers, were at all times relevant employees

of the City of Philadelphia. At all times herein mentioned, defendants Unknown
Philadelphia Police Officers, were acting under the color of law and their individual
capacity as police officers of The City of Philadelphia. (hereinafter referred to as “Police

Officers’)
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Defendant, Pennsylvania State Trooper Robert Sobeck Jr. was at all times relevant an
employee of the State of Pennsylvania. At all times herein mentioned, defendant
Pennsylvania State Trooper Robert Sobeck Jr. was acting under the color of law and his
individual capacity as a State Trooper for The State of Pennsylvania. (hereinafter referred
to as “Sobeck”’)

Defendants, Unknown Pennsylvania State Troopers, were at all times relevant employees
of the State of Pennsylvania. At all times herein mentioned, defendants Unknown
Pennsylvania State Troopers, were acting under the color of law and their individual
capacity as State Troopers for The State of Pennsylvania. (hereinafter referred to as
“State Troopers”’)

JURISDICTION AND VENUE

The Court has jurisdiction over the lawsuit because the action arises under the Laws and
Constitution of the United States, in particular, the Fourth Amendment and 42 U.S.C.A. §
1983.

Plaintiffs Tribuiani and Soper, were deprived of their rights secured to them under the
Constitution and the laws of the United States including, but not limited to, their right to
be secure in their person and property and be free from unlawful arrests, and seizures
when no probable cause exists.

Plaintiffs Tribuiani and Soper, was falsely detained and arrested without probable cause
and any legal justification.

Plaintiff Allegrini suffered excessive force, assault and sustained the severe and

permanent injury of death when he was shot and killed by defendant Sobeck.

Additionally Allegrini was deliberately denied necessary medical care.
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The Court has supplemental jurisdiction under, 28 U.S.C § 1367 over plaintiffs Parents,

Allegrini, Tribuiani, Soper and Patete’s claims arising under State law, including but not
limited to violations of their state rights against defendants for, excessive force, assault,
battery, wrongful death and survival and intentional infliction of emotional distress
because these claims are so related to the claims within the Court’s original jurisdiction
that they form part of the same case or controversy under Article 3 of the United States
Constitution.

Venue is proper in this Court pursuant to 28 U.S.C. §1391, as the claims at issue arose in

this judicial district.

COMPLAINT
GENERAL ALLEGATIONS

The above paragraphs are repeated and incorporated herein by reference as if set forth in
full.

On or about June 4, 2023, at approximately 3:30am on I-95 South at Chestnut Street,
Philadelphia, Pennsylvania, Allegrini was operating his vehicle with Patete, Tribuiani and
Soper riding as passengers when Allegrini pulled his vehicle onto the left shoulder of the
road to watch vehicles in the Northbound lanes of I-95 perform “tricks” with their
vehicles.

When Allegrini pulled his car over to the shoulder of I-95 South, several other vehicles
were already parked on the left side shoulder to also watch the Northbound I-95 vehicles
perform their “tricks.”

After Allegrini pulled his vehicle on the shoulder, Allegrini, Patete, Tribuiani and Soper

exited their vehicle and watched the Northbound I-95 cars perform the car “tricks.”
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19. After several minutes of watching the cars. plaintiffs proceeded to walk back to their
vehicle to leave the area.

20. As plaintiffs got into their vehicle, defendant Sobeck pulled his State Trooper vehicle in
front of the Allegrini’s vehicle and exited his vehicle.

21. Seconds later, additional State Troopers and Police Officers pulled their vehicles to the
area and also exited their vehicles.

22. At no time were any of the plaintiffs armed with any weapons.

23. Within seconds of stopping his State Trooper vehicle, Sobeck, without any probable
cause, withdraw his weapon, climbed on top of the front end of Allegrini’s vehicle and
then fired a single shot from his weapon directly through the front windshield striking
Allegrini in the chest while he was sitting in the driver’s seat of his vehicle.

24. After shooting Allegrini, Sobeck brandished his weapon and shouted at Allegrini, Patete,
Tribuiani and Soper to get the fuck out” of the vehicle.

25. When Patete, Tribuiani and Soper emerged from their vehicle, fearing for their physical
safety, Sobeck ordered them to “get the fuck on the ground” which they did.

26. Allegrini, while suffering a gunshot wound to his chest and bleeding profusely, also
attempted to follow Sobeck’s order to “get the fuck out” of the vehicle, but as he opened
his door he collapsed to the ground.

27. At no time did defendants Sobeck, State Troopers or Police Officers render any medical
assistance to Allegrini as he was visibly bleeding profusely on the ground.

28. Allegrini, while on the ground bleeding from a lethal gun shot, shouted numerous times
directly to Sobeck, State Troopers and Police Officers for “help” but none of the

defendants responded by providing necessary medical assistance.
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After remaining on the ground for several minutes, Patete, Soper and Tribuiani were
ordered to sit on the side of the road.

Shortly thereafter, Patete walked away from the scene.

Sudsequently, Soper and Tribuiani were handcuffed by Sobeck and State Troopers.
During this time, Sobeck continued to have his gun drawn and pointed, threating to shoot
his weapon at other people who had also pulled over to watch the Northbound I-95
vehicles.

While Tribuiani and Soper were handcuffed on the side of the road, they observed
Allegrini bleeding to death and screaming for help.

Tribuiani and Soper pleaded for Sobeck, State Troopers and Police Officers to help
Allegrini.

Sobeck, State Troopers and Police Officers knew that Philadelphia Fire Department
Medics arrived on the scene to help Allegrini, but defendants prevented said Medics from
getting to Allegrini by purposely holding back Fire Department personnel from the scene
for a significant time period after Allegrini was initially shot by Sobeck.

As aresult of preventing Fire Department Medics from treating Allegrini, Sobeck, State
Troopers and police officers deliberately allowed Allegrini to bleed to death.

After illegally handcuffing plaintiffs Tribuiani and Soper without warning or
justification, State Troopers took Tribuiani and Soper to the Troop K State Police
Barracks where they were questioned and remained for multiple hours until released.
When Philadelphia Fire Department Medics were finally allowed to treat Allegrini, they

found that he was “dead at the scene.”
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COUNT I
PLAINTIFFS ANTHONY ALLEGRINI Sr., JENNIFER ALLEGRINI, VINCENT

TRIBRUIANI and WILLIAM SOPER vs. STATE TROOPER ROBERT SOBECK JR.

and UNKNOWN STATE TROOPERS
THE RIGHT OF PEOPLE TO BE SECURE IN THEIR PERSONS UNDER THE 4"
AMENDMENT OF THE UNITED STATES CONSTITUTION

EXCESSIVE FORCE, FALSE DETENTION and FALSE ARREST UNDER SECTION

1983, OF THE CIVIL RIGHTS ACT

39, The allegations contained above are incorporated herein as though fully set forth.

40. The above described actions of defendants Sobeck and State Troopers on June 4, 2023,
constitute violations of plaintiffs’ constitutionally protected right to be secure in their
person as provided by the 4" Amendment of the United States Constitution.

41. The arrest and detention of plaintiffs Tribuiani and Soper, by defendant Sobeck and
Unknown State Troopers was carried out unlawfully, intentionally and maliciously,
without just or probable cause, for the express purpose of trying to justify the illegal false
arrest of Tribuiani and Soper.

42. The killing of Allegrini by Sobeck and the deliberate denial of necessary medical
assistance, by Sobeck, State Troopers and Police Officers was carried out unlawfully,
intentionally and maliciously, without just or probable cause, for the express purpose of
trying to justify the illegal excessive force killing and denial of necessary medical
assistance of Allegrini.

43. The illegal arrest and detention of Tribuiani and Soper by Sobeck and State Troopers and
the killing of Allegrini by Sobeck violated plaintiff's rights under the United States
Constitution and the Laws of the State of Pennsylvania.

44, The actions of defendants Sobeck and State Troopers were committed under color of law
and authority of The State of Pennsylvania and its police department, and while acting in

their individual capacity as State Troopers.
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45. The actions or inactions of the defendants Sobeck and State Troopers recklessly
disregarded and therefore deprived plaintiffs of their rights under the Laws and
Constitution of the United States, in particular, the Fourth Amendment and 42 U.S.C.A., §
1983, including but not limited to the right to be secure in their person, to be free from
unlawful seizures, arrests and excessive use of force.

COUNT II
PLAINTIFFS ANTHONY ALLEGRINI Sr, and JENNIFER ALLEGRINI vs. STATE

TROOPER ROBERT SOBECK JR.
ASSAULT AND BATTERY

46. The foregoing paragraphs are incorporated in this Count but will not be restated for the
sake of brevity.

47. The above described illegal killing of Allegrini constitutes assault and battery by
defendants Sobeck as a result of which Allegrini was killed and sustained severe and
significant emotional distress by watching himself being shot, killed and bleeding to

death.

COUNT III
PLAINTIFFS VINCENT TRIBRUIANI and WILLIAM SOPER vs. STATE TROOPER
ROBERT SOBECK JR. and UNKNOWN STATE TROOPERS
ASSAULT AND BATTERY

48. The foregoing paragraphs are incorporated in this Count but will not be restated for the
sake of brevity.

49, The above described illegal detention and arrest of Tribuiani and Soper constitutes assault
and battery by defendants Sobeck and State Troopers, as a result of which Tribuiani and
Soper were physically injured as well as sustaining severe and significant emotional

distress by watching their friend being shot and killed within inches before them.
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COUNT IV
PLAINTIFFS ANTHONY ALLEGRINI Sr. and JENNIFER ALLEGRINI vs. STATE
TROOPER ROBERT SOBECK JR.
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

50. The allegations contained above are incorporated herein as though fully set forth.

51. The above described illegal killing of Allegrini constitutes an assault and battery by
defendant Sobeck, as a result of which plaintiff Allegrini was shot and bleeding to death
in which he sustained severe and significant emotional distress while he was being left to
die.

. COUNT V_
PLAINTIFFS GIOVANNI PATETE, VINCENT TRIBRUIANI and WILLIAM SOPER

ys. STATE TROOPER ROBERT SOBECK JR. and UNKNOWN STATE TROOPERS
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

52. The allegations contained above are incorporated herein as though fully set forth.

53. The above described illegal detention and arrest of Tribuiani and Soper by State Troopers
and the killing of Allegrini by Sobeck constitutes assault and battery by defendants.

54. Patete, Tribuiani and Soper were additionally in fear of death as defendant Sobeck
recklessly discharged his weapon at Allegrini within inches of Patete, Tribuiani and
Soper as a result of which Patete, Tribuiani and Soper sustained severe and significant
emotional distress including but not limited to loss of sleep, loss of appetite, depression,

inability to perform daily activities of work and life.

COUNT VI
PLAINTIFFS ANTHONY ALLEGRINI Sr. and JENNIFER ALLEGRINI vs. STATE
TROOPER ROBERT SOBECK JR., UNKNOWN STATE TROOPERS and UNKNOWN
PHILADELPHIA POLICE OFFICERS
DENIAL OF MEDICAL ATTENTION

55. The allegations contained above are incorporated herein as though fully set forth.
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56. The above described denial of medical attention as a result of which, left plaintiff
Allegrini shot and bleeding to death for over an hour while Philadelphia Fire Department
Medics were prevented from medically attending to Allegrini, constitute violations by
defendants Sobeck, State Troopers and Police Officers to deliberately be indifferent to

the Allegrini’s, constitutionally protected right against the denial of medical attention.

COUNT VIL
PLAINTIFFS ANTHONY ALLEGRINI Sr, and JENNIFER ALLEGRINI vs. ROBERT
SOBECK JR., UNKNOWN STATE TROOPERS and UNKNOWN PHILADELPHIA
POLICE OFFICERS
SURVIVAL ACTIONS

57. All of the foregoing paragraphs are incorporated by reference as though fully set forth at
length herein.

58. Plaintiffs bring this action on behalf of the Estate of Anthony Allegrini Jr., deceased,
under and by virtue of the Pennsylvania Survival Act, 42 Pa. C.S.A. Section 8302
(hereinafter “Survival Act”) seeking to recover all damages encompassed by the
aforementioned Survival Act. 36 and caused by the previously described conduct of
Sobeck, State Troopers and Police Officers,

59. As aresult of the conduct of Sobeck, State Troopers and Police officers, Allegrini,
suffered injuries causing untold physical pain and mental suffering and thereafter expired
as a direct result of his being shot.

60. As a result of the deliberately indifferent denial of medical assistance by Sobeck, State
Troopers and Police officers, Allegrini suffered injuries causing untold physical pain and
mental suffering and thereafter expired as a direct result of his being shot and being

deprived of timely medical assistance which may have saved his life,
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As aresult of the injuries and ultimate death of Allegrini, he was unable to attend to his
usual duties and occupations all to the great financial detriment and loss of the Estate.
As a result of the death of Allegrini, his Estate has been deprived of the economic value
of the decedent attending to his usual duties and occupations during the period of his life
expectancy subsequent to his death and plaintiff seeks damages for the losses sustained
by the Estate as a result of decedent’s demise.

Plaintiffs claim all damages which the Estate is entitled to under and by virtue of the

aforesaid Survival Act.

COUNT Vil
PLAINTIFFS ANTHONY ALLEGRINI Sr. and JENNIFER ALLEGRINI vs.
ROBERT SOBECK JR., UNKNOWN STATE TROOPERS and UKNOWN
PHILADELPHIA POLICE OFFICERS
WRONGFUL DEATH

All of the foregoing paragraphs are incorporated by reference as though fully set forth at
length herein.

Plaintiffs Anthony Allegrini Sr. and Jennifer Allegrini, are the duly appointed
Administrators of the Estate of Anthony Allegrini Jr., by grant of Letters of
Administration by the Register of Wills of the County of Delaware, Commonwealth of
Pennsylvania, on September 21, 2023.

Plaintiffs bring this action by virtue of, inter alia, 42 Pa. C.S.A. § 8301, the Wrongful
Death Act and claims all damages encompassed thereby.

By reason of the said shooting by defendant Sobeck, deliberate denial of medical
assistance by State Troopers and Police Officers, and the subsequent death of Allegrini
both economic and non-economic losses have been suffered for which the law permits

recovery to the aforesaid survivors by virtue of the Wrongful Death Act.
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Plaintiffs bring this action for the benefit of those persons entitled by law to recover
damages for the wrongful death of plaintiffs decedent, Anthony Allegrini Jr.

Plaintiffs’ decedent left surviving his at least the following persons entitled to recover
damages for her wrongful death and on whose behalf this action is brought: his parents
Anthony Allegrini Sr. and Jennifer Allegrini and his sister Jessica Allegrini.

Plaintiffs’ decedent did not bring any action during his lifetime for any act or omission
leading to his death, nor has any action other than this instant Civil Action been
commenced for any act or omission leading to plaintiffs’ decedent's death

Plaintiffs claim damages for the monetary and pecuniary loss occasioned by the death of
plaintiffs’ decedent as well as for reimbursement of funeral expenses, burial expenses,
and expenses of Estate administration.

As a result of the death of Anthony Allegrini Jr., his survivors have been deprived of the
value of decedent attending to his usual duties and occupations during the period of his
life expectancy subsequent to his death and plaintiffs seek damages for the losses
sustained by his survivors as a result of decedent’s demise including, but not limited to,
loss of earnings, maintenance, guidance, tutelage, support, comfort, companionship and
society that they would have received from the deceased.

Plaintiff claims all damages for which the surviving intestate heirs are entitled to under -

and by virtue of the Wrongful Death Act.
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PLAINTIFFS ANTHONY ALLEGRINI Sr. and JENNIFER ALLEGRINI vs. STATE
TROOPER ROBERT SOBECK JR., UNKNOWN STATE TROOPERS and UNKNOWN
PHILADELPHIA POLICE OFFICERS
DAMAGES

74. The above paragraphs are repeated and incorporated herein by reference as if set forth in
full.

75. As a direct and proximate result of the defendants’ conduct, Plaintiff Allegrini suffered
physical pain and suffering, severe mental anguish, death and was deprived of his
Constitutional Rights as aforementioned, and was otherwise damaged.

PLAINTIFFS GIOVANNI PATETE, VINCENT TRIBRUIANI and WILLIAM
SOPER ys. STATE TROOPER ROBERT SOBECK JR., UNKNOWN STATE

TROOPERS and UNKNOWN PHILADELPHIA POLICE OFFICERS
DAMAGES

76. The above paragraphs are repeated and incorporated herein by reference as if set forth in
full.

77. As a direct and proximate result of the defendants’ conduct, Plaintiffs suffered physical
pain and suffering, severe mental anguish and were deprived of their Constitutional
Rights as aforementioned, and were otherwise damaged.

ATTORNEY FEES

78. It was necessary for plaintiffs to hire the undersigned attorney to file this lawsuit. Upon
judgment, plaintiffs are entitled to an award of attorney fees and costs under 42 U.S.C. §
1988 (b).

PRAYER
79. The above paragraphs are repeated and incorporate herein by reference as if set forth in

full.
Case 2:24-cv-01139-NIQA Document 1 Filed 03/15/24 Page 17 of 21

80. Plaintiffs demand judgment against defendants Sobeck, State Troopers and Police
Officers individually, jointly and/or in the alternative for: compensatory damages,
punitive damages, attorney fees, interest and costs of the suit in the amount of
$50,000,000.00 (Fifty million dollars).

PLAINTIFE’S DEMAND FOR JURY TRIAL

81. Plaintiffs assert their rights under the Seventh Amendment to the U.S. Constitution and

demands, in accordance with the Federal Rule 38, a trial by jury on all issues.

Respectfully submitted,

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JOSEBH OXMAN, £SQUIRE
Attorney for Plaintiffs

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VERIFICATION

The undersigned hereby verifies that the within document is based on first-hand
information and on information furnished to counsel and obtained by him in the course of this
lawsuit. The language of the document is that of counsel and not of the affiant, To the extent
that the contents of the document are based on information furnished to counsel and obtained by
him during the course of this lawsuit, affiant has relied upon counsel in taking this verification.
All statements are founded upon reasonable belief. This verification is made subject to the

penalties of 18 Pa.C.S, Section 4904, relating to unsworn falsification to authorities,

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anne Oy Wawa

Case 2:24-cv-01139-NIQA Document 1 Filed 03/15/24 Page 19 of 21

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PLAINTIFF

Case 2:24-cv-01139-NIQA Document 1 Filed 03/15/24 Page 20 of 21

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PLAINTIFF
Case 2:24-cv-01139-NIQA Document 1 Filed 03/15/24 Page 21 of 21

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penalties of 18 Pa.C.S. Section 4904, relating to unsworn falsification to authorities.

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PLAINTIFF

